Case 2:04-cv-02071-SHI\/|-dkv Document 34 Filed 08/05/05 Page 1 of 2 Pa e|D 55

` Onc.

IN THE UNITED STA'I'ES DISTRICT COURT `m`ED BY

 

FOR THE wEsTERN DISTRICT oF TENNESSE

wEsTERN :DIvIsION E05 AUG "5 N‘HU= 25
ScHERING-PLOUGH HEALTHCARE CLEPH(.U.§ F*I?T%’Y`TGO\M
PRODUCTS, INC_, WIDG!W w -.=\-§;FHPHlS

Plainti ff /COUNTER-DEFENDANT ,

VS. NO. 04-207l-MaV
PRIME ENTERPRISES ,. INC . ,

Defendant/Counter-Plaintiff.

 

ORDER STAYING PROCEEDINGS, VACATING SC'HEDULING ORDER,&
AND SE'I‘TING STATUS CONFERENCE

 

Before the court is the August l, 2005, joint motion of the
parties for a stay of this proceeding to allow the parties an
opportunity to continue settlement discussions of this matter.
For good cause shown, the motion is granted. This case is stayed
pending settlement efforts of the parties and the Order Amending
Schedule entered on March 9, 2005, is vacated. If the parties
have not reported the case settled prior to September 28, 2005, a
status conference will be held on Wednesday, September 28, 2005,
at 9;00 a.m., at which time the court will set a new schedule.

It is so ORDERED this “\k\day of August, 2005.

Md/W'__._

SAMUEL H. MAYS, JR.
UNITED STATES DISTRIC'I‘ JUDGE

 

T‘r-Ie document entered on the docket sheet in c mp|ianca
with Fiu!e ab and/or 'r'§{a) FRCP en " '

3&/

        

TAES DISTRCIT OURT - WESNTER D"ISRICT OF TNNESSEE

UNITED

   

mm

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CV-02071 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

David Wade

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/1emphis7 TN 38119

DeWitt 1\/1. Shy

BURCH PORTER & .1 OHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Lee L. Piovarcy

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/1emphis7 TN 38119

Amanda M. McGovern

KENNY NACHWALTER, ET AL., P.A.
201 South Biscayne Blvd.

Suite 1 100-Miami Center

1\/1iemi7 FL 33131--432

Richard H. Critchlow

KENNY NACHWALTER, ET AL., P.A.
201 South Biscayne Blvd.

Suite 1 100-Miami Center

1\/1iemi7 FL 33131--432

Stephen D. Craney

BURCH PORTER & .1 OHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

